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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                          *           CRIMINAL NO. 24-105

                 v.                                *           SECTION: “D”(1)

 SEAN D. ALFORTISH, et al.                         *

                                           *       *       *

                         GOVERNMENT’S OPPOSITION TO
                 VANESSA MOTTA’S MOTION TO COMPEL DISCOVERY

       The United States of America, through the undersigned attorneys, hereby opposes

defendant Vanessa Motta’s Motion to Compel Discovery. See Rec. Doc. 243. Motta requests that

this Court issue an order stating that:

   •   “The government is constitutionally obligated to independently search for and turn over

       all Brady material as it discovers it, including in the absence of a specific request,” see

       Rec. Doc. 243-1, pp. 3-5;

   •   The government must “promptly produce and identify all Giglio material,” including

       early production of materials that fall under the Jencks Act, see Rec. Doc. 243-1, pp. 5-

       10; and

   •   “The government must turn over all Brady material, including FBI 302 memoranda,

       supporting Ms. Motta’s defense,” that is, that she was “oblivious” to the fact that certain

       collisions were staged because of “industry blindness” to the staged collision scheme. See

       Rec. Doc. 243-1, pp. 10-16.

   Motta’s claims fail in light of well-established Fifth Circuit precedent. For the reasons below,

Motta’s motion should be denied.
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                       FACTS AND PROCEDURAL BACKGROUND

       Motta and her codefendants are charged with participating in a years-long scheme to

intentionally stage automobile collisions and file fraudulent insurance claims and lawsuits based

on the staged collisions. See Rec. Doc. 78 (Superseding Indictment). Among the individuals

involved in the staged collisions were multiple “slammers” who crashed automobiles into 18-

wheeler tractor-trailers and directed passengers in staged collisions to certain attorneys and law

firms to file fraudulent lawsuits. Rec. Doc. 78, p. 4. Cornelius Garrison was a slammer who

directed passengers to Motta, Motta Law, LLC, Jason F. Giles, and The King Firm, LLC. Rec.

Doc. 78, p. 6. Garrison was paid to direct passengers to Motta and Motta Law by Sean

D. Alfortish, a disbarred attorney who was Motta’s fiancée. Rec. Doc. 78, pp. 5-6. A second

slammer, Ryan Harris, worked with Garrison and also directed passengers in staged collisions to

Alfortish, Motta, and Motta Law. See Rec. Doc. 184 (Harris’s Factual Basis).

       In September 2020, a federal grand jury in the Eastern District of Louisiana charged

Garrison and eight codefendants in a seven-count indictment related to staged collisions. See

United States v. Garrison, E.D. La. No. 20-92, Doc. 1. The indictment made references to “Co-

Conspirator A” (Alfortish) and “Attorney B” (Motta), stating that “Co-Conspirator A solicited

and/or referred personal injury clients to Attorney B.” Id. at p. 2. Certain information in the

indictment clearly came from Garrison, including that “Co-Conspirator A instructed Garrison on

the number of passengers to include in staged collisions” and “Co-Conspirator A instructed

Garrison to lie about payments he received from Co-Conspirator A if ever asked.” See id. at p. 7.

       Four days after the indictment, Garrison was murdered at his mother’s New Orleans

home. Garrison’s fellow slammer Harris has pleaded guilty to his conduct the night Garrison was

murdered, as has Harris’s romantic partner Jovanna Gardner. In the factual basis supporting his




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guilty plea, Harris admitted that, in 2020, he learned that Garrison was cooperating, as did

Alfortish, Motta, and codefendant Leon M. Parker. Rec. Doc. 184, p. 4. Harris further admitted

that he facilitated a meeting between Alfortish and Parker so Alfortish could pay Parker to

murder Garrison. Rec. Doc. 184, pp. 4-5.

        Gardner made similar admissions in the factual basis supporting her guilty plea. See Rec.

Doc. 49. Gardner was not aware that Harris, Alfortish, and Parker intended to commit violence

against Garrison; instead, she believed that Harris planned to visit Garrison on the night of the

murder for the purpose of paying Garrison not to cooperate with the federal investigation. Rec.

Doc. 49, pp. 2-3. Harris told Gardner that “the lawyers” (whom Gardner understood to mean

Motta and Alfortish) had instructed Harris to meet with Garrison and convince Garrison not to

cooperate. Rec. Doc. 49, p. 2.

        Motta and her codefendants were charged in this case in December 2024. Rec. Doc. 78.

The government has filed a proposed scheduling order in which it proposed a deadline of April

14, 2025, to file motions to compel discovery. Rec. Doc. 225, pp. 1-2. No other defendants have

filed motions to compel. Trial is currently scheduled to begin on Monday, September 8, 2025.

Rec. Doc. 208.

                                    LAW AND ARGUMENT

I.      Motta’s claim that the government must independently search for Brady material is
        meritless, and it should be denied.

        A.       The government has complied with Brady.

        “Under Brady v. Maryland, a defendant’s due process rights are violated when the

prosecution suppresses evidence that is exculpatory.” United States v. Cessa, 861 F.3d 121, 128

(5th Cir. 2017) (citing Brady, 373 U.S. 83, 87 (1963)). “The principle also applies to evidence

that could be used to impeach prosecution witnesses.” Id. (citing Giglio v. United States, 405



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U.S. 150, 152-54 (1972)). “To establish a Brady violation, a defendant must show: (1) the

evidence at issue was favorable to the accused, either because it was exculpatory or impeaching;

(2) the evidence was suppressed by the prosecution; and (3) the evidence was material.” Id.

        This is not the first case involving Brady and a large quantity of data. The primary case in

the Fifth Circuit is United States v. Skilling, 554 F.3d 529 (5th Cir. 2009), vacated in part on

other grounds, 561 U.S. 358 (2010). In Skilling, the defendant was the former CEO of the Enron

Corporation who was indicted following civil, criminal, and Congressional investigations into

the failure of Enron. See id. at 534. A jury convicted Skilling on 19 counts of conspiracy,

securities fraud, making false statements, and insider trading. Id. at 542. 1

        On appeal, Skilling pointed to the government’s production of “several hundred million

pages of documents” and argued that it “resulted in the effective concealment of a huge quantity

of exculpatory evidence.” Id. at 576. According to Skilling, “no amount of diligence, much less

reasonable diligence, could have accomplished” the task of “effectively reviewing the

government’s disclosure.” Id. “In Skilling’s words, ‘it would have taken scores of attorneys,

working around-the-clock for several years to complete this job.’” Id. (emphasis in original).

        The Fifth Circuit rejected Skilling’s argument that “the government should have scoured

the open file in search of exculpatory information to provide to him.” Id. at 577. The Fifth

Circuit held that “the government is under no duty to direct a defendant to exculpatory evidence

within a larger mass of disclosed evidence.” Id. at 576. It also stated that, “where potentially

exculpatory information is available to the defendant through an exercise of due diligence, there

is no suppression for the purposes of Brady.” Id. The Fifth Circuit observed that “the government



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         The Supreme Court later remanded Skilling’s case to the Fifth Circuit after it rejected the
government’s theory of honest services fraud. Skilling, 561 U.S. at 413-14. The Fifth Circuit ultimately
affirmed all of Skilling’s convictions. United States v. Skilling, 638 F.3d 480, 488-89 (5th Cir. 2011).


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did much more than drop several hundred million pages on Skilling’s doorstep.” Id. at 577. The

discovery was “electronic and searchable.” Id. Further, the government “produced a set of ‘hot

documents’ that it thought were important to its case or were potentially relevant to Skilling’s

defense,” “created indices to these and other documents,” and “provided Skilling with access to

various databases concerning prior Enron litigation.” Id. Moreover, because the government gave

Skilling equal access to the same materials it had, “the government was in no better position to

locate any potentially exculpatory evidence than was Skilling.” Id.

       The Fifth Circuit left open the possibility that the government could violate Brady even in

cases with open file discovery. See id. For example, the government could “pad” an open file

“with pointless or superfluous information to frustrate a defendant’s review of the file.” Id. The

government could also create “a voluminous file that is unduly onerous to access” or “hide

Brady material of which it is actually aware in a huge open file in the hope that the defendant

will never find it.” Id. However, the Fifth Circuit refused to assume bad faith by the government

absent “compelling evidence to the contrary.” See id. The Fifth Circuit concluded,

“[C]onsidering the additional steps the government took beyond merely providing Skilling with

the open file, the equal access that Skilling and the government had to the open file, the

complexity of Skilling’s case, and the absence of evidence that the government used the open file

to hide potentially exculpatory evidence or otherwise acted in bad faith, we hold that the

government’s use of the open file did not violate Brady.” Id.

       The Fifth Circuit has continued to rely on its holding in Skilling. See United States v.

Stanford, 805 F.3d 557, 572 (5th Cir. 2015) (“We have previously rejected such ‘open file’

Brady claims where the government provided the defense with an electronic and searchable

database of records, absent some showing that the government acted in bad faith or used the file




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to obscure exculpatory material.”) (citing Skilling, 554 F.3d at 577). So have other circuit courts

of appeals. See United States v. Gray, 648 F.3d 562, 567 (7th Cir. 2011) (quoting Skilling, 554

F.3d at 576); United States v. Warshak, 631 F.3d 266, 297-98 & n.30 (6th Cir. 2010) (quoting

Skilling, 554 F.3d at 576-77, and rejecting defendant’s argument that the government was

“obliged to sift fastidiously through the evidence”).

       Lower courts have also relied on Skilling in large cases. For example, in United States v.

Meek, No. 1:19-cr-00378-JMS-MJD, 2021 WL 1049773 (S.D. Ind. Mar. 19, 2021), the

defendants were charged with “several fraud-related crimes stemming from their time as

executives for a trucking company.” Id. at *1. The defendants pointed to the government’s

production of “millions of pages of documents” and argued that the government had an

obligation under Brady to “conduct a reasonable search for exculpatory material that has not

been disclosed to defendants,” “identify exculpatory material of which it is aware,” and “identify

any exculpatory material that it is withholding for any reason.” Id. at *3. The court denied the

defendants’ motions. Id. at *4-6. The court found that “the government is not obligated to

specifically identify Brady material within a mass of discovery to defendants.” Id. at *4 (citing

Skilling, 554 F.3d at 576). Additionally, the court found that “Brady does not impose an

obligation ‘on the prosecution team members to ferret out any potentially defense-favorable

information from materials that are so disclosed.’” Id. (quoting United States v. Pelullo, 399 F.3d

197, 212 (3d Cir. 2005)). According to the court, the government complied with its constitutional

and discovery obligations by producing the documents “in a user-friendly, searchable, and

indexed format,” and there was “no indication that the government deliberately concealed or

buried any exculpatory evidence in the information it turned over to the defense.” Id. at *5.

Moreover, the defendants were “sophisticated and formerly high-level executives of a publicly




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traded company,” and they were “represented by experienced and talented counsel from notable

law firms across the country.” Id. Further, the defendants “had access to these documents for

more than a year, and they have them (and have had them) in the same user-friendly, searchable,

and indexed format as the government.” Id.

        With respect to the defendants’ arguments that Brady compelled the government to

“identify exculpatory material of which it [was] aware,” the court found that, “aside from the

burden that the requested order would impose on the government, defendants are in a better

position to determine what evidence they believe is exculpatory and will help in their defense.”

Id. at *5. As the court found, “To order the government to go beyond simply producing Brady

material and order it to identify or label already produced material as covered by Brady—and by

omission, identify non-Brady material—only invites future disputes as to whether the

government did an adequate job of identifying such material or characterized the material

consistent with the defendants’ view of it.” Id. (emphasis in original).

        Here, the government has complied with Skilling and the cases interpreting it. Among

other things, the government has:

    •   Provided discovery in searchable .pdf files, with native files as necessary (for example,

        for Microsoft Excel spreadsheets). Other than agent summaries of witness interviews

        (discussed below), the defendants either have access to the same materials as the

        government, or will have access by the end of the reciprocal discovery period; 2


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          As the Court is aware, this case followed a years-long investigation that resulted in prosecutions
of numerous individuals in multiple sections of the Eastern District of Louisiana. As part of its discovery
obligations, the government has sought to provide the defendants with access to any materials in its
possession that might be relevant while also withholding materials in its possession that are plainly
irrelevant. The government has done this in an attempt to prevent the discovery from being padded with
excess and duplicative information. The government does not intend to withhold any materials that may
be relevant to this case other than agent summaries of witness interviews. In her motion to compel, Motta



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   •   Provided indices with file names for each record and the custodian (i.e., source) from

       which it received each record;

   •   At the request of Motta’s counsel, identified seven-digit prefixes for certain grand jury

       returns related to Motta; and

   •   Responded to miscellaneous other discovery requests from Motta’s counsel, including

       requests for the location of specific documents within the discovery.

       As the above-cited authorities demonstrate, this is the industry standard for discovery in

cases with large amounts of data, and it has been for some time. See Skilling, 554 F.3d at 576-77;

Stanford, 805 F.3d at 572; Gray, 648 F.3d at 567; Warshak, 631 F.3d at 297-98; Meek, 2021 WL

1049773, at *4-6; see also United States v. Rubin/Chambers, Dunhill Ins. Servs., 825 F. Supp. 2d

451, 454-56 (S.D.N.Y. 2011) (in case with “extremely voluminous disclosure,” no Brady issue

where the government “provided defendants with searchable electronic productions; indices

describing documents related to the featured transactions; indices of audio recordings; and

metadata permitting searches of audio recordings”); United States v. Shafer, No. 3:09-CR-249-D

05, 2011 WL 977891, at *3-4 (N.D. Tex. Mar. 21, 2011) (in case where discovery consisted of

“200 terabytes seized from 600 computers and 10,000 pieces of paper,” no Brady issue where the

government “provided searchable copies of certain documents and has met individually with

counsel for the defendants to recommend where counsel focus their review efforts”).




does not request that the Court order the government to produce more discovery, but instead that the
government be ordered to search within already produced materials for documents she believes will be
helpful to her defense. Except for agent summaries of witness interviews, Motta does not appear to
dispute that she and the government have access to the same materials.


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B.      The government should not be required to prepare both sides of the case.

        While the government has endeavored to make the discovery available in accordance

with these authorities, Motta will eventually need to review the documents herself rather than ask

the government to direct her to the evidence she seeks. Motta incorrectly asserts that “[t]he

government is constitutionally obligated to independently search for and turn over known Brady

material as it discovers it, including in the absence of a specific request.” Rec. Doc. 243-1, p. 3.

The Fifth Circuit has rejected this argument. See Skilling, 554 F.3d at 576 (“[T]he government is

under no duty to direct a defendant to exculpatory evidence within a larger mass of disclosed

evidence.”); Bigby v. Dretke, 402 F.3d 551, 574 (5th Cir. 2005) (“The state, however, bears no

responsibility to direct the defense toward potentially exculpatory evidence that either is in the

possession of the defense or can be discovered through the exercise of reasonable diligence.”);

United States v. Mmahat, 106 F.3d 89, 94 (5th Cir. 1997) (“[T]here is no authority for the

proposition that the government’s Brady obligations require it to point the defense to specific

documents within a larger mass of material that it has already turned over.”), overruled in part

on other grounds by United States v. Estate of Parsons, 367 F.3d 409 (5th Cir. 2004) (en banc);

United States v. Marrero, 904 F.2d 251, 261 (5th Cir. 1990) (“While the Supreme Court in

Brady held that the government may not properly conceal exculpatory evidence from a

defendant, it does not place any burden upon the government to conduct a defendant’s

investigation or assist in the presentation of the defense’s case.”).

        As the Fifth Circuit has explained, where the government and the defendants have access

to the same materials, the government is “in no better position to locate any potentially

exculpatory evidence” than the defendants. See Skilling, 554 F.3d at 577. Courts have recognized

the “untenable position” the government would be in if it had to “prepare both sides of the case




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at once.” United States v. Ohle, No. S3 08 CR 1109(JSR), 2011 WL 651849, at *4 (S.D.N.Y.

Feb. 7, 2011); see also Gray, 648 F.3d at 567; Meek, 2021 WL 1049773, at *5. “Indeed, the

adversarial system presumes that the defense will be more highly motivated to uncover

exculpatory evidence, so if anything the onus is on defense counsel to conduct a more diligent

search for material potentially favorable to his client.” Ohle, 2011 WL 651849, at *4. “This is

especially true considering that, if exculpatory evidence exists, the defense is in the best position

to know what such evidence might be and where it might be located.” Id. “To order the

government to go beyond simply producing Brady material and order it to identify or label

already produced material as covered by Brady—and by omission, identify non-Brady

material—only invites future disputes as to whether the government did an adequate job of

identifying such material or characterized the material consistent with the defendants’ view of

it.” Meek, 2021 WL 1049773, at *5 (emphasis in original).

       Here, with the caveats described above, the government has provided Motta access to the

same information it has, mostly in searchable .pdf files. The government should not be forced to

guess which of these documents Motta will view as favorable to her defense. Presumably, the

government and Motta will not agree on which documents suggest intent to commit fraud and

witness tampering and which documents do not. This is especially true in this case because

Motta has proffered a defense of “industry blindness” that, as explained below, the government

believes is legally invalid and factually incoherent. This will inevitably lead to a dispute “as to

whether the government did an adequate job of identifying such material or characterized the

material consistent with the defendants’ view of it.” See Meek, 2021 WL 1049773, at *5.

Pursuant to the Fifth Circuit’s holding in Skilling, this Court should require the defendants to do

their own review of the evidence without forcing the government to characterize documents as




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“helpful” or “not helpful” to the defense. See Skilling, 554 F.3d at 556-57; see also Meek, 2021

WL 1049773, at *5; Ohle, 2011 WL 651849, at *4.

       Motta cites multiple cases and a provision from the Justice Manual for the proposition

that the government has an obligation under Brady to disclose material information favorable to

the defendant. See Rec. Doc. 243-1, pp. 3-5 & n.2. However, Motta conflates disclosure—which

the government has done—with searching within already produced materials and identifying

documents she believes support her defense. As discussed above, the government has no such

obligation, and it would be untenable to require the government to boil the ocean searching for

materials that Motta may or may not find useful. See Skilling, 554 F.3d at 576-77; Meek, 2021

WL 1049773, at *5; Ohle, 2011 WL 651849, at *4. Motta’s motion to compel should be denied.

II.    Motta’s demand for early production of Jencks Act materials should be denied.

       Motta argues that the government must “produce and identify” any impeachment material

that arguably falls under Brady and Giglio as soon as a defendant requests it. See Rec. Doc. 243-

1, pp. 5-10. Motta asserts that “the Fifth Circuit has not conclusively weighed in” on this issue,

i.e., whether alleged Brady/Giglio evidence that is also contained in Jencks Act material must be

disclosed before the Jencks Act deadline. See Rec. Doc. 243-1, p. 8.

       Contrary to Motta’s claim, the Fifth Circuit has conclusively weighed in on this issue, as

other courts have recognized. See United States v. Brown, 699 F.2d 704, 709 (5th Cir. 1983)

(“[W]hen alleged Brady material is contained in Jencks Act material, disclosure is generally

timely if the government complies with the Jencks Act.”); United States v. Martino, 648 F.2d

367, 384 (5th Cir. 1981); United States v. Campagnuolo, 592 F.2d 852, 863-64 (5th Cir. 1979);

United States v. Anderson, 574 F.2d 1347, 1352 (5th Cir. 1978); United States v. Fatty, No. 17-

161, 2018 WL 3708660, at *5 (E.D. La. Aug. 3, 2018) (Knowles, M.J.) (“The government is




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aware of its Brady and Giglio obligations and will produce to Fatty all such material on the

Friday (48 hours) before trial. That is the policy in this circuit, and—while Fatty maintains

otherwise—this Court sees no reason to deviate from it in this criminal case.”); United States v.

Causey, 356 F. Supp. 2d 681, 698 (S.D. Tex. 2005) (“[T]he law in this circuit is that when

evidence is subject to both Brady and Jencks, the timing of its production is governed by the

Jencks Act.”) (collecting cases); see also Degen v. United States, 517 U.S. 820, 825 (1996) (“A

criminal defendant is entitled to rather limited discovery, with no general right to obtain the

statements of the government’s witnesses before they have testified.”).

        Indeed, while the Fifth Circuit has stated that early disclosure of Jencks Act material is “a

salutary practice that should be encouraged,” it has held that district courts “cannot compel”

early disclosure of Jencks Act material. United States v. McKenzie, 768 F.2d 602, 609 (5th Cir.

1985); see also United States v. Yassine, 574 F. App’x 455, 464 (5th Cir. 2014) (“The trial court

cannot compel disclosure at any earlier point; however, early Jencks Act disclosure should be

encouraged.”) (ellipsis and quotation marks omitted) (emphasis in original); United States v.

Tettleton, No. 19-00015, 2009 WL 1174358, at *3 (W.D. La. Apr. 29, 2009) (“[N]umerous

courts, including the Fifth Circuit, have indicated that a court is not permitted to require the

government to produce Jencks material prior to the witness’s testimony.”) (collecting cases). 3

        The circuit courts of appeals are split on the issue. See United States v. Lujan, 530

F. Supp. 2d 1224, 1256 (D.N.M. 2008) (describing circuit split); Causey, 356 F. Supp. 2d at 698



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          “The language of the Jencks Act requires that the defendant move the court for production of
any covered statements after the witness has testified before the government’s duty to disclose attaches.”
McKenzie, 768 F.2d at 609. “The trial court cannot compel disclosure of Jencks material at any earlier
point.” Id. The standard practice in the Eastern District of Louisiana is to disclose Jencks Act material
before the legal deadline, specifically the Friday before trial. In the proposed scheduling order, the
government proposed a Jencks Act deadline of August 18, 2025, approximately three weeks before the
legal deadline and the standard local deadline. See Rec. Doc. 225, p. 3.


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(same); United States v. Kouri-Perez, 47 F. Supp. 2d 166, 172-73 (D.P.R. 1999) (same); United

States v. Beckford, 962 F. Supp. 780, 791 (E.D. Va. 1997) (same). At least three circuits agree

with the Fifth Circuit that evidence that is both Brady/Giglio and Jencks is controlled by the

timing requirements in the Jencks Act. See United States v. Hampton, 750 F. App’x 196, 199

(4th Cir. 2018); United States v. Presser, 844 F.2d 1275, 1283 (6th Cir. 1988); United States v.

Jones, 612 F.2d 453, 455 (9th Cir. 1979). Conversely, the Second Circuit has held that district

courts have “discretion to order pretrial disclosures as a matter of sound case management.”

United States v. Coppa, 267 F.3d 132, 146 (2d Cir. 2001). The Third and D.C. Circuits have

ruled both ways. Compare United States v. Starusko, 729 F.2d 256, 263 (3d Cir. 1984),

overruled on other grounds as recognized by Bracey v. Superintendent Rockview SCI, 986 F.3d

274, 289-90 (3d Cir. 2021), and United States v. Tarantino, 846 F.2d 1384, 1414 n.11 (D.C. Cir.

1988) (Jencks Act does not affect Brady/Giglio obligations), with United States v. Kaplan, 554

F.2d 577, 579-80 (3d Cir. 1977), and United States v. Pollack, 534 F.2d 964, 974 (D.C. Cir.

1976) (Brady/Giglio evidence may be disclosed up to Jencks Act deadline).

       The out-of-circuit cases cited by Motta are unhelpful because, as discussed above, they

are on the wrong side of the circuit split. See Rec. Doc. 243-1, pp. 6-8 (citing, among other

things, United States v. Shvarts, 90 F. Supp. 2d 219 (E.D.N.Y. 2000), abrogated on other

grounds by Coppa, 267 F.3d at 146, and United States v. Trie, 21 F. Supp. 2d 7, 23, 26 (D.D.C.

1998)). Regardless of the circuit split, the law in the Fifth Circuit is clear, and the government

has followed it. As explained above, the government has complied with its constitutional

obligations under Brady and Giglio. See Skilling, 554 F.3d at 556-57. Additionally, the

government intends to produce its witness interview reports well in advance of the September 8,




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2025, trial date. See Rec. Doc. 225, p. 3 (proposed scheduling order with Jencks Act deadline of

Monday, August 18, 2025).

       To the extent Motta requests that the Court order the government to identify Brady/Giglio

evidence that falls outside the scope of the Jencks Act, that request likewise is unsupported by

law and unnecessary based on the government’s efforts. “Brady is not a discovery rule,” and it is

not “a pretrial remedy.” Fatty, 2018 WL 3708660, at *5 (quoting United States v. Beasley, 576

F.2d 626, 630 (5th Cir. 1978); United States v. Garrett, 238 F.3d 293, 303 (5th Cir. 2000) (Fish,

J., concurring)); see also Weatherford v. Bursey, 429 U.S. 545, 559 (1977) (“There is no general

constitutional right to discovery in a criminal case, and Brady did not create one.”). Thus, “there

is no requirement that Brady or Giglio material be produced in pre-trial discovery.” Fatty, 2018

WL 3708660, at *5; see also Skilling, 554 F.3d at 576 (“[T]he government is under no duty to

direct a defendant to exculpatory evidence within a larger mass of disclosed evidence.”). As

discussed above, Motta has the same ability to search for evidence within the discovery that the

government has. She can make her own determinations as to whether certain documents are

helpful or unhelpful to her defense. Motta is not entitled to greater constitutional or discovery

rights than other defendants in the Fifth Circuit, and her motion should be denied.

III.   Motta’s demand for early production of agent reports should be denied.

       Motta argues that the government should be required to produce certain agent summaries

of witness interviews, known as “302s,” before the proposed Jencks Act deadline of August 18,

2025. See Rec. Doc. 243-1, pp. 10-16. As discussed above, although early disclosure of Jencks

Act material is “a salutary practice that should be encouraged,” the Fifth Circuit has held that

district courts “cannot compel” early disclosure of Jencks Act material. McKenzie, 768 F.2d at




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609. 4 To sidestep this clear prohibition, Motta claims that she only wants agent reports

summarizing interviews of witnesses who are “similarly situated” to her. See Rec. Doc. 243-1,

pp. 10-16. According to Motta, those individuals include attorneys, doctors, paralegals, and legal

assistants who were “oblivious” to the staged collision scheme. See Rec. Doc. 243-1, pp. 14-15

& nn.3-5. Motta’s claim fails for several reasons.

        First, the only individuals in this case who are “similarly situated” to Motta are Jason

Giles and Patrick Keating, the only other personal injury attorneys charged with knowingly

participating in the staged collision scheme. Only a few of the individuals listed in Motta’s

motion were implicated in Garrison’s statements to law enforcement. Further, unlike Motta, none

of the individuals listed in her motion were named in Harris’s and Gardner’s factual bases, and

none have been accused of witness tampering through improper conduct with Garrison,

including when he was represented by Federal Public Defender Claude Kelly. Moreover, Motta

and Alfortish paid Garrison, Harris, and a third slammer tens of thousands of dollars. Thus, the

premise of Motta’s motion—that she was somehow singled out from a group of “similarly

situated” innocent bystanders—is not true.

        Second, even assuming the individuals in Motta’s motion were “duped” by the slammers,

it would not establish a defense for Motta because it would not make it any more or less likely

that Motta knowingly participated in the staged collision scheme. Motta cites the Fifth Circuit

Pattern Jury Instruction for deliberate ignorance, Rec. Doc. 243-1, pp. 10-11, and claims that she

intends to argue the “affirmative defense that she lacked the requisite criminal intent because

she, like similarly situated professionals and the plaintiff personal injury industry at large, was


        4
          Technically, 302s are Jencks Act material only for the agents who wrote them and not for the
witnesses themselves unless the reports are “substantially verbatim.” See United States v. Edwards, 702
F.2d 529, 531 (5th Cir. 1983). Nevertheless, the government typically produces 302s on the Jencks Act
deadline, and it plans to do so here.


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reasonably blind to these plaintiffs’ fraudulent scheme.” Rec. Doc. 243-1, p. 2. “A deliberate

ignorance instruction is designed to inform the jury that it may consider evidence of the

defendant’s charade of ignorance as circumstantial proof of guilty knowledge.” United States v.

Nguyen, 493 F.3d 613, 618 (5th Cir. 2007) (quotation marks omitted). “It is only to be given

when a defendant claims a lack of guilty knowledge and the proof at trial supports an inference

of deliberate indifference.” Id. In this case, the government’s theory is not that Motta was merely

indifferent to the crimes of others, but that she was an important member of the staged collision

conspiracy who acted with direct knowledge of her and others’ wrongdoing. If Motta feigns

obliviousness at trial, then a deliberate ignorance instruction may be appropriate. However,

Motta has pointed to no authority holding that the mere possibility of a deliberate ignorance

instruction somehow upends decades of binding Fifth Circuit caselaw concerning disclosure of

Jencks Act material.

       As to Motta’s “affirmative defense” claim, “when a defendant asserts an affirmative

defense, he admits committing the alleged criminal conduct but argues that he should not be held

liable because either such conduct was justified or he was excused under the circumstances.”

United States v. Alvarez-Murillo, 722 F. Supp. 3d 648, 652 (W.D. Tex. 2024). “For example, a

defense by justification—such as self-defense or necessity, among others—applies when a

defendant engages in conduct that is otherwise criminal but which under the circumstances is

socially acceptable and deserves no criminal liability.” Id. Motta does not concede that she

committed the alleged criminal conduct, and, thus, she has not raised an affirmative defense. To

the contrary, Motta alleges that the government cannot prove that she acted with intent to

defraud. As a result, she is no different from any number of other fraud defendants, and she has

not demonstrated that she is entitled to special treatment under the Jencks Act.




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       Finally, Motta’s assertion that she can simply declare that witnesses are “similarly

situated” to her and thus rewrite the rules concerning disclosure of witness statements has no

basis in the decades of caselaw applying Brady. As discussed above, the government satisfies its

Brady obligations in complex cases when it produces materials to the defendants in a readable

and searchable format. See Skilling, 554 F.3d at 576-77. It is then incumbent on defendants to

search through the discovery and locate documents they believe are helpful to them. See id.

Requiring the government to produce materials related to arbitrarily selected “similarly situated”

witnesses “only invites future disputes as to whether the government did an adequate job of

identifying such material or characterized the material consistent with the defendants’ view of

it.” See Meek, 2021 WL 1049773, at *5. Such a rule would be particularly untenable here, where

Motta is charged with witness tampering, and her codefendants are alleged to have murdered a

key witness. It is not difficult to imagine how defendants in witness tampering and witness

murder cases could exploit a rule allowing them to claim that a witness is “similarly situated” to

them and force early production of the witness’s statements. Motta has not demonstrated that the

Court should invent such a rule, and her motion to compel should be denied.

III.   Motta should be required to show that she exercised due diligence in reviewing the
       discovery.

       This Court should deny Motta’s discovery requests because they are not supported by the

law and because of the government’s efforts to disclose and narrow the discovery. However, in

the event the Court is inclined to grant any of Motta’s requests, the government asks that the

Court first require Motta to make a showing that she exercised due diligence in reviewing the

discovery.

       “[W]here potentially exculpatory information is available to the defendant through an

exercise of due diligence, there is no suppression for purposes of Brady.” Skilling, 554 F.3d at



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576; see also Kutzner v. Cockrell, 303 F.3d 333, 336 (5th Cir. 2002) (“When evidence is equally

available to both the defense and the prosecution, the defendant must bear the responsibility of

failing to conduct a diligent investigation.”); United States v. Brown, 628 F.2d 471, 473 (5th Cir.

1980) (“[W]hen information is fully available to a defendant at the time of trial and his only

reason for not obtaining and presenting the evidence to the Court is his lack of reasonable

diligence, the defendant has no Brady claim.”).

       In United States v. Gross, 424 F. Supp. 3d 800, 805-06 (C.D. Cal. 2019), the defendant

filed a motion to continue the trial for additional time to review voluminous discovery. Gross,

424 F. Supp. 3d at 802. The court allowed the defendant to file supplemental materials related to

a showing of diligence that the court then reviewed in camera. Id. at 805. The court found, “To

be sure, counsel have spent hundreds of hours preparing a defense, but it is unclear how much of

that time has been spent related to review of the government’s production.” Id. The court

observed that defense counsel “spent a combined total of over 1,100 hours on the defense, but

not more than approximately ten per cent of that time has been spent reviewing discovery.” Id. at

806 (quotation marks omitted). The defendant’s ESI expert spent 436.9 hours “devoted

exclusively to dealing with the government’s production, but it still appears that comparatively

little time has been spent on actual review of the documents.” Id. at 805-06. In denying the

defendant’s motion, the court stated that “criticism of the quality of the government’s ESI does

not in itself demonstrate diligence—it merely underscores the need for diligence.” Id. at 806. The

court concluded that, “while the defense has made a showing that document review in this case is

an enormous task, it has not shown diligence in undertaking that task to date.” Id.

       Here, the evidence has been made available to Motta as either searchable .pdfs or native

files. Each production is accompanied with a searchable index with file and custodian




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information in the same format as the government maintains it, so the defense can organize

evidence by source in the same way the government does. There is no reason Motta cannot load

the data into a database and use key search terms to find the materials she seeks in her motion. 5

The government has taken the steps recommended by Skilling and done its part to make the

discovery available and navigable. It is now Motta’s responsibility to review the discovery and

determine what, if anything, is helpful to her defense. See Gross, 424 F. Supp. 3d at 806; see also

Kutzner, 303 F.3d at 336 (“When evidence is equally available to both the defense and the

prosecution, the defendant must bear the responsibility of failing to conduct a diligent

investigation.”); Marrero, 904 F.2d at 261 (“While the Supreme Court in Brady held that the

government may not properly conceal exculpatory evidence from a defendant, it does not place


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          The government understands from Motta’s counsel that Motta does not yet have an electronic
database to assist with review of the discovery because acquiring such a database would be cost
prohibitive. The Federal Judicial Center has published guidance for just such a scenario, that is, when a
defendant cannot afford electronic discovery in a complex case. According to Criminal E-Discovery: A
Pocket Guide for Judges (2019), available at https://www.fjc.gov/content/309106/criminal-e-discovery-
pocket-guide-judges:

                  The National Litigation Support Team (NLST), part of the Defender
                  Services Office (DSO) of the Administrative Office of the U.S. Courts, is
                  available to help attorneys for indigent defendants struggling with
                  extensive e-discovery. . . . The DSO has three national coordinating
                  discovery attorneys (CDAs) who are experts in e-discovery, have
                  experience with CJA cases, and are knowledgeable about litigation
                  technology. They work with CJA counsel and federal defenders in
                  multidefendant cases to manage large volumes of e-discovery efficiently
                  and cost-effectively to best fit the defendants’ needs. The court can ask
                  CJA counsel to request that the case be referred to a CDA through the
                  National Litigation Support Team.

Pocket Guide, pp. 8-9. This is true even for non-indigent defendants with retained counsel:

                  The Criminal Justice Act can authorize payment of e-discovery review
                  costs when the extent of those costs would render a defendant unable to
                  pay for e-discovery review regardless of whether a defendant can
                  otherwise afford retained counsel. 18 U.S.C. § 3006A(e)(1) allows
                  retained counsel to apply for services to be paid through the CJA system.

Id., p. 6 n.15.


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any burden upon the government to conduct a defendant’s investigation or assist in the

presentation of the defense’s case.”).

       Motta should not be permitted to throw up her hands and cry “Brady” merely because the

discovery involves a large amount of data. Before the Court rules in Motta’s favor and requires

the government to go even further beyond the recommendations in Skilling, it should at a

minimum require Motta to state the number of hours she has spent reviewing the discovery.

Additionally, the Court should have Motta list the key search terms and other research methods

(e.g., applying filters, tagging documents, creating folders) she has used while reviewing the

discovery. Finally, Motta should be required to demonstrate that she could not locate the

information she seeks if she simply spent more time reviewing the discovery that has been made

available to her.

       The Court may deny Motta’s requests without such a showing. However, because the

exercise of due diligence is a requirement under Brady, the Court should not grant relief unless

Motta establishes that she has exercised due diligence in her review of the discovery.




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                                         CONCLUSION

       For the foregoing reasons, the government respectfully requests that this Court deny

defendant Vanessa Motta’s Motion to Compel Discovery.


                                                     Respectfully submitted,

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                                                     ACTING UNITED STATES ATTORNEY


                                                     /s/ Matthew R. Payne
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                                CERTIFICATE OF SERVICE

        I hereby certify that on April 21, 2025, I electronically filed the foregoing with the Clerk
of Court by using the CM/ECF system, which will send a notice of electronic filing to all counsel
of record.

                                                     /s/ Matthew R. Payne
                                                     MATTHEW R. PAYNE
                                                     Assistant United States Attorney




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